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                                       UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF CALIFORNIA

        UNITED STATES OF AMERICA                                        CASE NUMBER 21-mj-00618-JLB

                              vs                                        ABSTRACT OF ORDER

       Mena D. Yousif                                                   Booking No. 30324509


TO THE UNITED STATES MARSHAL AND / OR WARDEN, METROPOLITAN CORRECTIONAL CENTER:
           Be advised that under date of         3/10/2021
the Court entered the following order:


                         Defendant be released from custody.

                         Defendant placed on supervised / unsupervised probation / supervised release.

                         Defendant continued on supervised / unsupervised probation / supervised release.

                         Defendant released on                    $435,000 PS                      Bond posted.

                         Defendant appeared in Court. FINGERPRINT & RELEASE.

                         Defendant remanded and (                   bond ) (           bond on appeal ) exonerated.

                         Defendant sentenced to TIME SERVED, supervised release for                     years.

                         Bench Warrant Recalled.

                         Defendant forfeited collateral.

                         Case dismissed.

                         Case dismissed, charges pending in case no.

                         Defendant to be release to Pretrial Services for electronic monitoring.

                         Other. Defendant to be released on Thursday, 3/11/2021 at 8:00 AM to PTSO William Perales
                                   (619-430-0014) for GPS monitoring.



                                                                           BARBARA L. MAJOR
                                                                   UNITED STATES DISTRICT/MAGISTRATE JUDGE
                                                                                          OR
                 Electronically Sent to USMS                       JOHN MORRILL, Clerk of Court
                                                                   by N. Peltier x 7099



Crim-9 (Rev. 05/20)
    Original
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Natalie Peltier

From:               Garcia, Melissa (USMS) on behalf of CAS Releases <CAS.Releases@usdoj.gov>

Sent:               Wednesday, March 10, 2021 1:19 PM
To:                 Natalie Peltier
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